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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                           AMARILLO DIVISION


PRESIDENT DONALD J. TRUMP, an
individual, and REPRESENTATIVE RONNY
JACKSON, an individual,
                                                 Case No. 2:24-cv-00236-Z
                       Plaintiffs,

      v.

PARAMOUNT GLOBAL d/b/a
PARAMOUNT, a Delaware corporation, CBS
BROADCASTING INC., a New York
corporation, and CBS INTERACTIVE INC.,
a Delaware corporation,

                       Defendants.




        DISMISS           AMENDED COMPLAINT FOR LACK OF
     SUBJECT-MATTER JURISDICTION AND FAILURE TO STATE A CLAIM
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                                                                                      , and CBS

Interactive Inc.   CBS               (collectively,

                                                         RCP 12(b)(1) and (b)(6).

                                PRELIMINARY STATEMENT

       This lawsuit is an affront to the First Amendment and is without basis in law or fact.

Plaintiffs President Donald J. Trump and Representative Ronny Jackson, public officials at the

highest ranks of our government, seek to punish a news organization for constitutionally

protected editorial judgments they do not like. They not only ask for $20 billion in damages but

also seek an order directing how a news organization may exercise its editorial judgment in the

future. The First Amendment stands resolutely against these demands. The choice of material to

go into a [broadcast] . . . constitute[s] the exercise of editorial control and judgment, and

punishing such choices is wholly inconsistent with the First Amendment guarantees of a free

                                       Mia. Herald Publ g Co. v. Tornillo, 418 U.S. 241, 258

(1974). In our system, the remedy for disagreement with political speech one does not like is

counter-speech     not court-enforced damages under the guise of commercial regulations. See

Wood v. Georgia, 370 U.S. 375, 389 (1962).

       For more than half a century, 60 Minutes

interviewed the major party candidates in the run-up to a presidential election. Vice President

Kamala Harris accepted 60 Minutes

                                                      Face the Nation (the

October 6, 2024, and during a special 60 Minutes election

Minutes Broadcast        President Trump declined to be interviewed and instead brought this

action, now nominally joined by Rep. Jackson, accusing




                                             1
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                                                                                                 an

issue they recognize was                                 .                                       the

answers that aired on each news show were simply excerpts of a single answer Vice President

Harris gave to a single question, and taken together, viewers heard virtually               answer.



                                                                      regulate commercial business

practices, not to police editorial decisions made by news organizations. That is why these statutes

have uniformly been interpreted to extend only

limit political speech, consumer or editorial comment . . . or other constitutionally protected

           Seven-Up Co. v. Coca-Cola Co., 86 F.3d 1379, 1383 n.6 (5th Cir. 1996). Neither the



                              -making.

       Underscoring this point, Plaintiffs have not and cannot plead the most basic elements of

their claims. With respect to the Lanham Act claim (brought on behalf of President Trump

alone), President Trump fails to plausibly allege even the foundation of

                                                                           ith respect to the DTPA

claim, Plaintiffs not only fail to allege any actual purchase or transaction involving

services, but also fail to explain how they made any such commercial transaction detrimentally

relying on the false depiction of the Vice President.

       But that is not all. Plaintiffs also lack standing    and this Court therefore lacks subject-

matter jurisdiction   because they have not alleged any cognizable injury. Rep. Jackson does not

attempt to allege any harm from the broadcasts.                                               Truth

Social with respect to the Lanham Act claim, and to his presidential campaign with respect to the




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DTPA claim, both fail for several reasons, including that neither represents harm to him

personally, Truth Social

FTN and 60 Minutes Broadcasts aired, and the election has mooted the need for relief for any

ostensible injury to his campaign.

                                                                       with prejudice.

                                          BACKGROUND

     I.   The Parties

          Defendant Paramount is the parent company of Defendants CBS and CBS Interactive.

ECF No. 36 ¶ 25. CBS operates CBS News                                           60 Minutes. Id. ¶¶ 4

n.1, 65.

and disseminates broadcast and digital media content nationwide

                   Id. ¶¶ 32, 152.

          President Trump is a citizen of Florida                                               . Id.

¶ 23. In October 2024, when the broadcasts at issue aired, President Trump was the Republican

nominee for president. Representative Ronny Jackson is a citizen of Texas and a member of the

U.S. House of Representatives. Id. ¶ 24.

    II.   The Interview

          In the lead up to the 2024 presidential election, consistent with its practice for more than

half a century, 60 Minutes prepared to interview the presidential candidates for both major

parties. See                                                        & ECF No. 25-1, Ex. C at 9:48-

10:08.1 Although President Trump originally agreed to be interviewed, he ultimately withdrew.

Owens Decl. ¶ 6 & ECF No. 25-1, Ex. C at 10:02-11:42. Vice President Harris accepted 60


1

                 such as the two broadcasts at issue herein and the full transcript of the Interview.

                                               3
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Minutes            , and veteran CBS News journalist Bill Whitaker interviewed her on the

campaign trail in Ripon, Wisconsin and at her residence in Washington, D.C. Owens Decl. ¶ 7 &

ECF No. 25-1, Ex. C at 12:22-12:31. The Interview aired on a special broadcast of 60 Minutes

on October 7, 2024. Id. ¶ 10.

       60 Minutes provided an excerpt from the Interview to its sister news program, Face the

Nation. ECF No. 36 ¶ 72; Owens Decl. ¶ 11. On October 6, 2024, Margaret Brennan, the host of

Face the Nation, opened the broadcast by reporting on ongoing airstrikes from Israel into Gaza

and Southern Beirut, and observing that

been and potentially would be in a new administration when it comes to Israel is one raised

                                   ECF No. 25-1, Ex. A at 2:58-3:09. She then introduced a brief

clip                                       60 Minutes                       ,

Vice President Harris and asked her about U.S. influence with Israeli Prime Minister Benjamin

             ECF No. 36 ¶ 6. The excerpt lasted about two-and-a-half minutes. See ECF No. 25-

1, Ex. A at 3:22-5:44.



approximately one minute. Whitaker then challenged the Vice President, remarking,

seems that                                                In the FTN Broadcast, Harris is shown

answering                                                               a number of movements in

that region by Israel that were very much prompted by or a result of many things, including our

                                                    Id. at 5:04-5:25; see ECF No. 36 ¶ 72.

       The following day, on October 7, 2024, CBS aired a special edition of 60 Minutes that

                                                                            Vice President Harris

                                                                                -mate, Governor Tim


Tellabs, Inc. v. Makor Issues & Rts., Ltd., 551 U.S. 308, 322 (2007).

                                            4
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Walz, and other footage). See ECF No. 25-1, Ex. C at 12:44-27:09 & 34:25-35:20. At all times,

the CBS Eyemark logo appeared on screen. See id. The 60 Minutes Broadcast covered a range of

topics, including the war in Ukraine, immigration, how Harris planned to pay for her suggested

child tax credit, and her changing positions on fracking. See id. With respect to the

                                                                it included excerpts of the same

questions previously aired on Face the Nation, but with shorter responses from Harris. See ECF

No. 36 ¶ 115. In response                                                    at Prime Minister

Netanyahu is not listening, rather than use the first line of

before, 60 Minutes used the concluding sentence given by Harris, in which she

not gonna stop pursuing what is necessary for the United States to be clear about where we stand

                                Id.

       Defendants have now disclosed the unedited transcript publicly. Id. ¶ 111. As Defendants

repeatedly explained, see id.

unedited transcript proves, and as Plaintiffs now concede, CBS did not manufacture an answer or

                                                                                        a single

answer to a single question on Face the Nation and 60 Minutes. Id. ¶ 115 (emphasis added).

III.   The Amended Complaint

       Prior to filing this action, President Trump first accused Defendants

                                                  Truth Social post. ECF No. 36 ¶ 78. This was

followed by an exchange of letters between counsel for President Trump and CBS News

concerning the Interview. In a letter dated October 29, 2024, President Trump invoked the DTPA

for the first time. ECF No. 36-4. Without waiting the requisite 60 days before filing suit as

required under the DTPA or even awaiting                  esponse, President Trump commenced

this action two days later, on October 31, 2024. See ECF No. 1. On November 5, 2024, President


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Trump won the presidential election. On February 7, 2025, President Trump amended his

complaint, adding Rep. Jackson as a party and a Lanham Act claim. 2 See generally ECF No. 36.

       In their Amended Complaint, rather than identify allegedly misleading or deceitful

conduct in commerce under the Lanham Act or the DTPA, President Trump and Rep. Jackson

target Defendants editorial choices, alleging that CBS                  election               by

                              the Interview. ECF No. 36 ¶¶ 3, 13. In particular, they allege that

                                   the Netanyahu question shown on Face the Nation was word

salad, with Harris appearing                                       Id. ¶¶ 7, 72. This

allegedly induced consumers at large to purchase or a                                           in

order to watch the 60 Minutes Broadcast, but on 60 Minutes the                              to the

same question                      and decisive response    Id. ¶¶ 7, 73. While neither Plaintiff

alleges he was actually confused (indeed, neither Plaintiff alleges he even watched the broadcasts

when they aired), they allege generally that the 60 Minutes Broadcast

             Harris as intelligent, well-                         Id. ¶ 195.

       On these facts, President Trump brings Lanham Act and DTPA claims, alleging the news

broadcasts

President Trump is a significant owner of shares in publicly traded company Trump Media &

Technology Group Corp. ( TMTG ), which operates the social media site Truth Social. Id. ¶ 16.

The Amended Complaint seeks damages of no less than $20 billion on the purported grounds



                                                ,                                     60 Minutes




2
  Rep. Jackson provided no notice to Defendants concerning his DTPA claim and his claim
therefore must be abated for 60 days from filing. See Tex. Bus. & Com. Code § 17.505; Hines v.

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                                 Id. ¶¶ 153, 161, 199 n.1. Rep. Jackson sues only under the DTPA

but does not identify any damages, instead alleging in conclusory fashion

                                  Id. ¶ 198.

                                           ARGUMENT

  I.   The Lanham Act And The DTPA Do Not And Could Not, Consistent With The
       First Amendment Apply To Editorial Speech Like The Broadcasts At Issue

           A. Editorial Speech About Public Officials During An Election Enjoys
              Maximum First Amendment Protection

       If the First Amendment means anything, it means that public officials like Plaintiffs

cannot hold news organizations like CBS liable for the simple exercise of editorial judgment. 3

there is any fixed star in our constitutional constellation, it is that no official, high or petty, can

prescribe what shall be orthodox in politics . . . or other matters of opinion or force citizens to

                                               W. Va. State Bd. of Educ. v. Barnette, 319 U.S. 624,

642 (1943). Nor may the courts constitutionally punish the exercise of editorial judgment,

whomever the plaintiff. See Miss. Gay All. v. Goudelock, 536 F.2d 1073, 1075 (5th Cir. 1976)

                                                                                                      ;

cf. Snyder v. Phelps, 562 U.S. 443, 452 (2011) (describing First Amendment principles that

                                                   inadvertent censors ).

       In Tornillo,



 treatment of public issues and public officials      whether fair or unfair   constitute the exercise


Hash, 843 S.W.2d 464, 469 (Tex. 1992).
3
  Plaintiffs do not allege that Paramount itself had any involvement with the FTN or 60 Minutes
                                                                        ,
under the DTPA.

Turkmenistan, 447 F.3d 411, 416 (5th Cir. 2006) (citation omitted). For this independent reason,
Paramount should be dismissed from this lawsuit.

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                                             at 258 & n.24. Such editorial judgments are not the




                                                                 Denver Area Educ. Telecomms.

Consortium, Inc. v. FCC, 518 U.S. 727, 737-38 (1996) (citations omitted); see also Columbia

Broad. Sys., Inc. v. DNC

time for all viewpoints, however, the right to exercise editorial judgment was granted to the

               Echoing Tornillo, Justice Gorsuch recently



routinely make less-than-transparent judgments about what stories to tell and how to tell them.

Without question, the First Amendment has much to say about the right to make those choices.

TikTok Inc. v. Garland, 604 U.S. ---, 145 S. Ct. 57, 73 (2025) (Gorsuch, J., concurring). That

observation could scarcely be more apt.

       There is no dispute the subject matter of the Interview   the conflict in Israel and Gaza

                                                                                           .



                                                       Hustler Mag., Inc. v. Falwell, 485 U.S. 46,

50 (1988); see also N.Y. Times Co. v. Sullivan, 376 U.S. 254, 270 (1964) (emphasizing our

     ound national commitment to the principle that debate on public issues should be

uninhibited, robust, and wide-

                                                                                2024 Presidential

          ECF No. 36

                                                           Citizens United v. FEC, 558 U.S. 310,




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339 (2010) (quoting Eu v. S.F. Cnty. Democratic Cent. Comm., 489 U.S. 214, 223 (1989)). For



                                                                                                  Id.

at 372, 385 (Roberts, C.J., concurring).



                                                           id. at 364, punishing the editing of a

                                                                  , see




                     Id. ¶ 126. Plaintiffs toggle between insisting



                               to                           entire

manipulated. Id. ¶¶ 13, 104; see id. ¶¶ 114, 140-43, 148, 151, 157, 187; see also id. at ¶¶ 119-21

                                                                                ). But editing is the

province of the publisher. See Masson v. New Yorker Mag., Inc., 501 U.S. 496, 515 (1991)



editing). Whether Plaintiffs believe the entire unedited Interview should have aired or only edited

in a way they approve, they are not entitled under the First Amendment to demand only news

that fits their wishes.

                                                                              the DTPA or Lanham

Act cannot hide their unconstitutional aim: Plaintiffs are public officials    the President of the

United States and a Member of the House of Representatives            seeking billions of dollars in

damages and an injunction against protected speech by private parties.




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                                                                                           Rehak

Creative Servs., Inc v. Witt, 404 S.W.3d 716, 733 (Tex. App.      Houston [14th Dist.] 2013, pet.

denied) (internal citation, quotation marks, and alteration omitted), disapproved on other

grounds by In re Lipsky, 460 S.W.3d 579 (Tex. 2015). Whatever statutory causes of action

Plaintiffs may devise

             B. Consistent With The First Amendment, The Lanham Act And The DTPA
                Extend Only To Commercial Speech

         B                                                                                Citizens

United, 558 U.S. at 340, both the Lanham Act and the DTPA           like other unfair competition

laws     were drafted so as not

for the independent reason that the Lanham Act and the DTPA extend only to commercial

speech, not the editorial news at issue here.

         The Fifth Circuit has long                                           specifically extends

only to false and misleading speech that is encompassed within the           commercial speech

doctrine developed by the United States Supreme Court

limit political speech, consumer or editorial comment . . . or other constitutionally protected

             Seven-Up, 86 F.3d at



they must be                      commercial speech    for the purpose of influencing consumers to

                                      Id. at 1384 (quoting Gordon & Breach Sci. Publishers S.A.

v. Am. Inst. of Physics, 859 F. Supp. 1521, 1535-36 (S.D.N.Y. 1994)).4 Courts consistently reject

4
    Virtually every Circuit has adopted, at a minimum, the requirements that the representation be

services. See, e.g., Podiatrist Ass n, Inc. v. La Cruz Azul De Puerto Rico, Inc., 332 F.3d 6, 19
(1st Cir. 2003); Fashion Boutique of Short Hills, Inc. v. Fendi USA, Inc., 314 F.3d 48, 56-57 (2d
Cir. 2002); Handsome Brook Farm, LLC v. Humane Farm Animal Care, Inc., 700 F. App x 251,
256 (4th Cir. 2017); Grubbs v. Sheakley Grp., Inc., 807 F.3d 785, 800-01 (6th Cir. 2015).

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                                                                       Radiance Found., Inc. v.

NAACP

                                 Gordon & Breach, 859 F. Supp. at 1544.




which the Amended

practices in the conduct of any trade or commerce

(emphasis added).5 Governed by this clear statutory construct, Texas courts have uniformly

found that the DTPA does not purport to regulate non-commercial speech and especially not the

editorial judgments of news organizations. For example, in Tatum v. Dallas Morning News, Inc.,

the court affirmed the dismissal of a DTPA claim brought against a newspaper by parents who

had purchased an obituary for their son, but were later criticized in an editorial concerning the

                                                       653, 674 (Tex. App.     Dallas 2015, pet.

granted),                       , 554 S.W.3d 614 (Tex. 2018). In rejecting the DTPA claim, the

court distinguished between the commercial transaction involving the purchase of an obituary,

on the one hand, and the journalism of the reporter, on the other. Id. at 675; see also Mother &

Unborn Baby Care of N. Tex., Inc. v. State, 749 S.W.2d 533, 540 (Tex. App.     Fort Worth 1988,



                                                                          .

General has likewise recognized the limits of the DTPA, arguing that DTPA investigations into




5

lease, or distribution of any good or service, of any property, tangible or intangible, real,

Bus. & Com. Code § 17.45(6).

                                           11
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involves commercial representations and not editorial decisions. Twitter, Inc. v. Paxton, No. 21-

15869 (9th Cir. 2021), ECF No. 33, at 20-22.

         The            legislative history underscores that it is limited to commercial speech



                                                         ,



                                                               6
                                                                    In other words, even political

advertising     much less pure editorial speech    is outside the reach of the DTPA.



Trade Commission and federal courts to Section 5(a)(1) of the Federal Trade Commission Act,

Tex. Bus. & Com. Code § 17.46(c)(1),

                                       45(a)(1). FTC decisions regarding deceptive trade practices

(and circuit courts reviewing those decisions) consistently

commercial, not editorial, speech. See, e.g., FTC v. R.J. Reynolds, 1988 WL 490114, at *2

(F.T.C. Mar. 4, 1988); Kraft, Inc. v. FTC, 970 F.2d 311, 320-21, 324-26 (7th Cir. 1992); FTC v.

POM Wonderful, 155 F.T.C. 1, 50 (2013),            , 777 F.3d 478 (D.C. Cir. 2015). As the FTC has



                                                                   R.J. Reynolds, 1988 WL 490114, at

*3. In short, the DTPA applies only to commercial speech.

              C. The FTN And 60 Minutes Broadcasts Are Indisputably Editorial, Not
                 Commercial, Speech

         Recognizing the obvious First Amendment problems with attacking editorial speech,

Plaintiffs frame the FTN                                                                    Minutes


6
    See Legislative History of S.B. 75, at 83, https://lrl.texas.gov/scanned/DTPA/SB75_63R.pdf.

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                                                                           City of Cincinnati v.

Discovery Network, Inc., 507 U.S. 410, 422 (1993) (quoting Bolger v. Youngs Drug Prods.

Corp., 463 U.S. 60, 66 (1983)); accord Va. State Bd. of Pharmacy v. Va. Citizens Consumer

Council, Inc.

                                                                                         see also

Book People, Inc. v. Wong
                                                                                         7
                                                                                             Neither

the FTN nor 60 Minutes Broadcast proposed any commercial transaction

commercial transaction. Book People, 91 F.4th at 319. The Broadcasts are unquestionably news

programming, and Plaintiffs repeatedly concede as much

programs such as 60 Minutes and Face the Nation                                                news

                                                    . And they elsewhere describe CBS News as

                                                    , whose audience is

                                                       utmost public significance and

public interest. E.g., ECF No. 36 ¶¶ 4 n.1, 21, 32, 34, 69, 71, 139, 140, 193. 8 And, while

entirely irrelevant to the commercial/editorial speech dichotomy,                 allegation that

Defendants did                                                     id. ¶¶ 195-96, is belied by the



7
  Examples of commercial speech include advertising of alcohol beverages, 44 Liquormart, Inc.
v. Rhode Island, 517 U.S. 484 (1996), prescription drugs, Va. State Bd. of Pharmacy v. Va.
Citizens Consumer Council, Inc., 425 U.S. 748 (1976), or tobacco, see Lorillard Tobacco Co. v.
Reilly, 533 U.S. 525 (2001).
8
  Even if the FTN Broadcast functioned in any way to promote the 60 Minutes Broadcast, it also
was political speech by a presidential candidate about a matter of public concern, the conflict in
Israel and Gaza. See ECF No. 36 ¶ 72. At a minimum, then, any promotional quality of the FTN
Broadcast was                                                              , such that the FTN
Broadcast is not commercial speech. Riley v. Nat l Fed. of Blind, 487 U.S. 781, 796 (1988)


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Interview, in which CBS correspondent Bill Whitaker engaged in probing and tough questioning

of the Vice President, pressing her for answers when he felt she had not addressed the question. 9

          Because Plaintiffs cannot seriously dispute that Face the Nation and 60 Minutes are news

programs, they next attempt to expand the definition of commercial speech far beyond its well-

established reach     ads proposing a commercial transaction     to cover essentially any speech by

a for-profit entity, or                                                                         E.g.,

ECF No. 36 ¶¶ 3, 4, 191, 193, 196-97. But this proposition was laid to rest decades ago. Even if

Defendants have a profit motive, that economic motivation does not transform their editorial

speech into commercial speech and divest it of its First Amendment protections. As the Supreme



operations     from the selection of news stories to the choice of editorial position      would be

subject to regulation if it could be established that they were conducted with a view toward

increased sales. Such a basis for regulation clearly would be incompatible with the First

                 Pittsburgh Press Co. v. Pittsburgh Com        on Hum. Rels., 413 U.S. 376, 385

(1973); see Murdock v. Pennsylvania, 319 U.S. 105, 110 (1943) (distribution of religious

pamphlets fully                       invit[ing]                          ).10 However framed, the

speech at issue is not commercial speech subject to either the Lanham Act or the DTPA.

    II.   Plaintiffs Fail To Plead Article III Standing


(                                                                                       inextricably
9
  E.g., ECF No. 25-1, Ex. C at 15:52-
trillion to the federal deficit over the next decade. How are you going to pay for that? . . . Pardon

with the real world here. . . . How are you going to get this through Congress? . . . And Congress
has sho[wn]
10
   See also Sullivan




                                             14
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                                                                                                The



               United States v. Texas, 599 U.S. 670, 676 (2023). To establish standing, a plaintiff



injury likely was caused or will be caused by the defendant, and (iii) that the injury likely would

                                                   FDA v. All. For Hippocratic Med., 602 U.S. 367,

380 (2024)

(b) actual or imminent, not conjectural or hypothetical. Lujan v. Defs. of Wildlife, 504 U.S. 555,

560 (1992). These requirements ensure that a plaintiff is not

                              , FDA, 602 U.S. at 379 (quoting TransUnion LLC v. Ramirez, 594

U.S. 413, 423 (2021))                                                                           . . .

                                            Hollingsworth v. Perry, 570 U.S. 693, 715 (2013).

       Rep. Jackson Lacks Standing. Rep. Jackson does not allege that he suffered any concrete

harm as a result of the FTN and 60 Minutes Broadcasts. Nor could he, given that the broadcasts

did not mention or concern him in any way. He does not claim, for example, that he was actually

defrauded by CBS or another Defendant. In fact, he carefully avoids making any unequivocal

allegation that he paid money to Defendants to view the broadcasts. See, e.g., ECF No. 36

¶¶

                                      id.                                              -defendant-

unlawfully-harmed-                                                           Ashcroft v. Iqbal, 556

U.S. 662, 678 (2009). Instead, Rep. Jackson relies entirely on alleged intangible harms, claiming

                                                                                36 ¶¶ 78, 198. But




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                                              Perez v. McCreary, Veselka, Bragg & Allen, P.C., 45

F.4th 816, 825 (5th Cir. 2022). Moreover, unlike even the plaintiff in Perez, Rep. Jackson makes

no attempt to distinguish himself from any other viewer of                    broadcasts. He concedes



                                   11
                                        ECF No. 36 ¶¶ 78, 124. This is precisely what the standing

requirement of Article III was designed to avoid        the use of federal courts

                                                                 FDA, 602 U.S. at 382.

         President Trump Lacks Standing. For many of the same reasons, President Trump fails

to allege Article III standing. Like Rep. Jackson, President Trump cannot claim to have suffered

any consumer injury from the broadcasts themselves, which were not about him, and does not

allege that he paid any money to CBS to view the broadcasts. Unable to point to any pecuniary

or other tangible harm as a consumer



36 ¶ 78. That allegation                                                       that the broadcasts did

not confuse him, see id. (alleging that he immediately took to Truth Social to warn others about

                []                              )

that cannot support standing. Hollingsworth, 570 U.S. at 715.

         President Trump also cannot rely on his former status as a candidate for office. Any

claim that the                                                       ,   ECF No. 36 ¶¶ 23, 125, or

otherwise gave Vice President Harris a competitive advantage was rendered moot by President

                                        See Hotze v. Hudspeth, 16 F.4th 1121, 1124 (5th Cir. 2021);

Shemwell v. City of McKinney, 63 F.4th 480, 483-85 (5th Cir. 2023). Nor can such a claim be


11
     Representative Jackson also alleges that he was injured
                  ECF No. 36

                                               16
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        12
             deficit. ECF No. 36 ¶ 19 n.4. Lost campaign donations impacted him, if at all, as a

candidate in an election he ultimately won. In any event, election-related fundraising would have

been conducted through campaign entities; those donations could not flow to him personally. See

FEC v. Cruz

                                     new theory    that he was harmed as a competitor of CBS, see,

e.g., ECF No. 36 ¶¶ 16, 46        fares no better. He

                                          Truth Social. Id. ¶ 134. But merely posting on social

media    like so many other citizens       does not give him standing to challenge

editorial decisions in federal court.

Trump and Truth Social by directing their attention to [                                  id. ¶ 156,

is premised on entirely speculative assumptions that viewers would otherwise have looked to his



                                                                                         Murthy v.

Missouri, 603 U.S. 43, 57 (2024) (citation omitted); see Little v. KMPG LLP, 575 F.3d 533, 540



                                                                              Indeed, on this theory

anyone could bring unfair competition claims against news organizations with which they

disagreed. That is not the law.

        Nor does

                            confer standing. ECF No. 36 ¶¶ 16, 56. TMTG is not a party in this



decisions harmed him as a consumer of entirely different content.
12
                                                                               and such an abstract
concept does not constitute a concrete injury-in-fact. ECF No. 36 ¶ 19 n.4.

                                              17
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case, and President Trump cannot sue individually for harm to TMTG. 13

stockholders have no separate and independent right of action for injuries suffered by the

                                                                                       Wingate v.

Hajdik, 795 S.W.2d 717, 719 (Tex. 1990); accord Bosch v. Tessa Complete Health Care, Inc.,

2004 WL 1278225, at *5 (S.D. Tex. Apr. 5, 2004).14 For all these reasons, while President

                                                              those kinds of objections alone do

                                                               FDA, 602 U.S. at 396.

III.   President Trump Fails To Plead A Lanham Act Claim

       Plaintiffs                                                         fail to plausibly allege

the required elements of each claim. Section 43(a)(1)(B) of the Lanham Act subjects to liability



                                                                     President Trump     the sole

plaintiff asserting the Lanham Act claim, see ECF No. 36 at 41     does not plausibly allege that

the FTN                                                                                       that

Defendants misrepresented the nature, characteristics, or qualities of their services, that any

misrepresentation was material, or that he has standing under the Lanham Act.

       First,       news programming is not commercial




                      Seven-Up, 86 F.3d at 1383 n.6 (internal citations omitted). The challenged

13

specific allegation elsewhere in the Amended Complaint that
                           during the operative period. ECF No. 36 ¶ 61.
14
   Setting aside that a shareholder cannot assert an interest,
TMTG is in a trust, of which he is a beneficiary, but not a trustee. See Form 4,
https://s3.amazonaws.com/sec.irpass.cc/2660/0001474506-24-000291.pdf. Only a trustee has
legal authority to initiate legal action on behalf of the trust. See In re XTO Energy Inc., 471

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broadcasts, as explained above, are editorial not commercial speech. The broadcasts also were



                                          Id. at 1384.                               alleged

       answer         Face the Nation

                                                             must have

services. ECF No. 36 ¶¶ 76, 78. And, if any viewers of the FTN Broadcast had not already

                           President Trump offers no explanation as to how hearing a

answer would induce a consumer to do so. Id. ¶ 76.

       Second, President Trump does not plead any actionable misrepresentation. To be



claim, capable of being proved false or of being reasonably interpreted as a statement of

objective fact.                                                 , 227 F.3d 489, 496 (5th Cir. 2000)

(citation omitted). Defendants never asserted as a factual matter that the Interview on either Face

the Nation or 60 Minutes

the excerpts of the Interview aired on Face the Nation would appear the following day on 60

Minutes. Notably, the Amended

and the 60 Minutes                                                                             that is,

                                                           same answer to the question. Nothing was

                  doctored. Contra id. ¶¶ 95, 97, 105, 188. In fact, it was CBS that broadcast the

very portion of the Interview Plaintiffs now contend was somehow hidden from the public.

Plaintiffs also

Pizza Hut, 227 F.3d at 497. Nor have they pointed to any evidence of

          consumer reaction to the advertising           consumer surveys        consumer reaction


S.W.3d 126, 131-32 (Tex. App.       Dallas 2015, no pet.).

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                                                                                             Id.;

accord IQ Prods. Co. v. Pennzoil Prods. Co., 305 F.3d 368, 375 (5th Cir. 2002).

       Insofar as President Trump s theory is not about the FTN Broadcast specifically but that

the broadcasts generally are                                                          also is not

actionable. Associated Press v. All Headline News Corp. is instructive. In that case, the

Associated Press brought claims including under Section 43 of the Lanham Act against All



its own reporting. 608 F. Supp. 2d 454, 457 (S.D.N.Y. 2009). The court

to dismiss the Lanham Act claim because                   -described status as a news-gathering

                                                                 permitting the claim to proceed

                                                                      -described news service is

                                                                        Id. at 463. So too, here,

the Court cannot arbitrate what is bona fide news consistent with the First Amendment.

       Third, Plaintiffs have not alleged that any misrepresentation or deception was material



Taquino v. Teledyne Monarch Rubber, 893 F.2d 1488, 1500 (5th Cir. 1990). President Trump

has

                             Id. If the alleged deception is that CBS edited down Vice President

                                                                        indeed, Face the Nation

made clear that it was showing just a short excerpt of a longer interview, and 60 Minutes

routinely cut between the Interview with Harris and studio commentary, making the edited

nature of both shows overt                                               Id.




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       Last

may sue under Section 43(a)(1)(B) of the Lanham Act.

Components, Inc., 572 U.S. 118, 131-32 (2014); see also, e.g., I Love Omni, LLC v. Omnitrition

             , 2017 WL 3086035, at *5 (N.D. Tex. July 20, 2017) (Fish, J.)

have suffered an injury that negatively impacts their ability to compete in the marketplace have

                                                     Harold H. Huggins Realty, Inc. v. FNC, Inc.,

634 F.3d 787, 797 (5th Cir. 2011)). As noted, President Trump does not plausibly allege that he

individually suffered a commercial injury proximately caused by any alleged misrepresentation.

                                                                                           Truth

Social, ECF No. 36 ¶ 127, that injury is to TMTG, not President Trump himself. See supra

Section II. In any event, g

[and] business relationships, ECF No. 36 ¶ 31,

                                I Love Omni, 2017 WL 3086035, at *5 (citation omitted). The

failure to allege, for example, that specific

President Trump s                                                                   Lanham Act

claim. Id.

IV.    Plaintiffs Fail To Plead A DTPA Claim

                                                                                  subject to Rule

                                                       Kumar v. Panera Bread Co., 2024 WL

1216562, at *4 (5th Cir. Mar. 21, 2024) (per curiam). Plaintiffs do not plausibly state a DTPA

claim, much less satisfy the more stringent Rule 9(b) standard.

                                                                                      Amstadt v.

U.S. Brass Corp., 919 S.W.2d 644, 649 (Tex. 1996); accord Cameron v. Terrell & Garrett, 618

S.W.2d 535, 541 (Tex. 1981)


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                                                                         Cushman v. GC Servs.,

L.P.                       -28 (5th Cir. 2010) (per curiam) (quoting Crown Life Ins. Co. v.

Casteel, 22 S.W.3d 378, 386 (Tex. 2000))

sought or acquired goods or services

purchased or leased                                          Hurd v. BAC Home Loans Servicing,

LP, 880 F. Supp. 2d 747, 765 (N.D. Tex. 2012) (Lynn, J.) (citation omitted) (emphasis added).



                                         Amstadt, 919 S.W.2d at 649.

       Here, Plaintiffs conspicuously avoid making any factual allegation that they actually

acquired by purchase or lease                        , as required by the DTPA. Instead, they

                                     or otherwise acquired

¶¶ 11, 173, 175. Such allegation falls far

                Amstadt

                                                                     Hunt v. City of Diboll, 574

S.W.3d 406, 432 (Tex. App.    Tyler 2017, pet. denied). For example, they do not allege whether

they paid for             services, and if so, when, where, how much they paid, and who they

purchased the services from. See Hurd, 880 F. Supp. 2d at 765 (rejecting conclusory allegations

                                    .15 This pleading deficiency compels dismissal of the claim.

       The Amended Complaint also does not allege with particularity any false, misleading, or

deceptive act. It cites to four provisions of the DTPA, specifically Texas Business and

15

purchased or leased, as required by the DTPA, is Paramount+                       -to-consumer
subscription streaming service. See ECF No. 136 ¶¶ 34, 77, 186. Therefore, if the Court were to

or services, then Plaintiffs are bound by the Paramount+ Terms of Use and must arbitrate their
claims. Plaintiffs cannot have it both ways. Defendants intend to take discovery from Plaintiffs
regarding any acquisition of Paramount+ services and reserve the right to move to compel

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Commerce Code Sections 17.46(b)(2), (3), (5), (9). 16 None is adequately pled.

         First, with regard to Section 17.46(b)(2) or (3), viewers understand that CBS is the

                                 60 Minutes because it airs on CBS, contains the CBS Eyemark

logo throughout, and is hosted by CBS News correspondents. The only allegations in the

Amended Complaint directly relating to source affirmatively state that Face the Nation and 60

Minutes             -known programs in the CBS News portfolio. See ECF No. 36 ¶ 32. The

confusion pled

                                                                 -button issues, including foreign

           id. ¶¶ 141, 195, 197     is not the kind of consumer confusion about the source,

sponsorship, or affiliation of a product or service that the DTPA is designed to protect. See

generally supra Section 1.B. Next, per their Section 17.46(b)(5) claim, Plaintiffs do not identify



misrepresented. Cf. Doe v. Boys Clubs of Greater Dall., Inc., 907 S.W.2d 472, 480 (Tex. 1995)

(rejecting

                                                                                             false

claims in advertising                                                 that the law is designed to

police. Finally, the purpose of Section

practice by which a seller seeks to attract customers through advertising products at low prices

                                                                       Mid-Cities Bone & Joint




16
     See ECF No. 36 ¶ 169 (alleging that Defendants



uses, benefits, or quantities which they do not have
                                     ).

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Surgeons, P.A. v. GE Healthcare Diagnostic Imaging, 2008 WL 11429502, at *3 (N.D. Tex.

Sept. 22, 2008) (Means, J.). Plaintiffs allege nothing of the kind.

       Further, to state a claim under Section 17.50(a)(1) of the DTPA for a false, misleading,

or deceptive act or practice . . . enumerated in . . . Section 17.46(b)   Plaintiffs must also show



                                                                              In other words, there

needs to be a causal connection between the false, misleading or deceptive act and conduct in

reliance on that misinformation. A DTPA claim is stated, for example, when a plaintiff shows

reliance on misrepresentations about the terms or benefits of insurance coverage in deciding not

to obtain insurance elsewhere, see Kersh v. UnitedHealthcare Ins. Co., 946 F. Supp. 2d 621, 643



warranty accompanying a good, or financial counseling in connection with the sale of

            McClung v. Wal-Mart, 866 F. Supp. 306, 309 (N.D. Tex. 1994) (Belew, J.). Failure

to plead detrimental reliance compels dismissal of a DTPA claim. See CrewFacilities.com, LLC

v. Humano, LLC, 2024 WL 993898, at *3 (W.D. Tex. Mar. 7, 2024); Yumilicious Franchise

L.L.C. v. Barrie, 2015 WL 1822877, at *4-6 (N.D. Tex. Apr. 22, 2015) (Lindsay, J.).

       The Amended Complaint does not even attempt to allege any facts that would support a

finding of detrimental reliance. Plaintiffs do not plead what misrepresentation they relied upon or

what action they took in reliance upon that misrepresentation. They do not even allege that the

FTN Broadcast occurred before they acquired                   broadcast services, let alone that they

relied on it. Indeed, they do not allege that they made any commercial purchase or lease (or

failed to take any such action) as a result of the FTN Broadcast. To the contrary, they allege that

President Trump was not confused and knew the 60 Minutes interview responses were edited




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when he promptly took to Truth Social to say as much. ECF No. 36 ¶ 78.



                  id. ¶¶ 174, 176, falls far short of the pleading requirements.



17.50(a)(1). Cruz v. Andrews Restoration, Inc., 364 S.W.3d 817, 823 (Tex. 2012).

       Plaintiffs primarily frame their DTPA claim under Section 17.46(a), ECF No. 36 at 47,

but the Amended Complaint also cites Section 17.50(a)(3), which provides that a consumer may



causes economic damages or damages for mental anguish. See Tex. Bus. & Com. Code

§ 17.50(a)(3); ECF No. 36 ¶ 171

practice, which . . . takes advantage of the lack of knowledge, ability, experience, or capacity of




                                              See Washburn v. Sterling McCall Ford, 521 S.W.3d

871, 877 (Tex. App.     Houston [14th Dist.] 2017, no pet.). It is hardly surprising that Plaintiffs

do not allege they lack the knowledge, ability, experience, or capacity to consume and evaluate

television news. To the contrary, they plead that President Trump understood the Interview was

edited (in his words,

statement about it. See ECF No. 36 ¶ 78. Plaintiffs accordingly cannot claim Defendants acted

                            them within the meaning of the DTPA.

                                         CONCLUSION

       For all the foregoing reasons, this Court should dismiss Plaintiffs               Complaint

with prejudice.




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Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 6, 2025 a true and correct copy of the foregoing was

served via CM/ECF on all counsel of record.


                                              /s/ Thomas C. Riney
